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                        UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF RHODE ISLAND

  ANDRES F. MATAMOROS; and                            :      Plaintiffs demand a trial
  SARA G. MATAMOROS,                                  :      By Jury
       Plaintiffs                                     :
                                                      :
         v.                                           :
                                                      :
  UNITED STATES DEPARTMENT OF                         :
  AGRICULTURE, by and through SONNY                   :      C.A. No.: 2018-
  PERDUE, Secretary of the United States              :
  Department of Agriculture; FOOD SAFETY &            :
  INSPECTION SERVICES of the UNITED                   :
  STATES DEPARTMENT OF ACRICULTURE,                   :
  by and through CARMEN M. ROTTENBERG,                :
  Acting Deputy ; and JOHN/JANE DOES 1-5 ,            :
         Defendants                                   :


                                       COMPLAINT

                                  Jurisdiction and Venue

  1. This action arises under the Federal Tort Claims Act 28 U.S.C. §2671, et seq., as the

     claims presented herein are for personal injuries and physical damage arising out of

     an automobile accident on March 3, 2017.

  2. The acts and omissions complained of herein occurred within the State of Rhode

     Island, which is within the venue of this Honorable Court.

  3. Notice of the within claim was presented to the United States Department of

     Agriculture/Food Safety & Inspection Services under 28 U.S.C. § 2675(a), more than

     six (6) months elapsed thereafter, and no offer of settlement or payment was issued

     by the United States Department of Agriculture and/or Food Safety & Inspection

     Services.
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  4. This Honorable Court is vested with jurisdiction pursuant to 28 U.S.C. §1346(b) and

     8 U.S.C. §1331.

                                            Parties

  5. Andres F. Matamoros (hereinafter “Plaintiff Mr. Matamoros”) was at all times

     material hereto a resident and domiciliary of the City of Woonsocket, State of Rhode

     Island.

  6. Sara G. Matamoros (hereinafter “Plaintiff Ms. Matamoros”) was at all times material

     hereto a resident of the City of Woonsocket, State of Rhode Island.

  7. Defendant, United States Department of Agriculture (hereinafter Defendant

     “USDA”), is a federal executive department within the United States government and

     is being sued by and through its Secretary, Sonny Perdue, in his official capacity.

  8. Defendant, Food Safety & Inspection Services, is an agency within the United States

     Department of Agriculture (hereinafter Defendant “USDA Food Safety”) and is being

     sued by and through its Acting Under Secretary, Connie M. Rottenberg, in her official

     capacity.

  9. Defendant John/Jane Does 1-5, are persons, corporations or entities whose identity/ies

     is/are not known to the Plaintiff, but whose identity/ies may be revealed during the

     course of this litigation, and that is and were at all times relevant hereto the owner(s),

     operator(s) and/or lessee(s) of an automobile involved in the subject accident.

           Count I – Negligence of Defendants USDA and USDA Food Safety

  10. On March 3, 2017 at approximated 4:50 a.m., Plaintiff Mr. Matamoros was the

     operator of a motor vehicle traveling West on Route 195 in Providence, Rhode Island

     and was at all times using due care in the operation of said vehicle.




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  11. On March 3, 2017, Plaintiff Ms. Matamoros was the owner of a vehicle which was

     being operated with her consent by her son, Plaintiff Mr. Matamoros, at the time and

     place set forth above.

  12. At all times mentioned herein, an employee and agent of Defendant USDA Food

     Safety and Defendant USDA, had the duty to operate a vehicle owned by these

     defendants in a reasonably careful manner for the safety of all persons, including the

     plaintiffs in this action.

  13. At the aforementioned time and place, Defendant USDA Food Safety and Defendant

     USDA, by and through its employee or agent, did breach the duty owed to Plaintiffs

     Mr. Matamoros and Mrs. Matamoros by operating said motor vehicle in a negligent

     and careless manner, and by negligently and carelessly operating the motor vehicle

     causing the vehicle to strike the motor vehicle being operated by Mr. Matamoros.

  14. As a direct and proximate result of Defendant USDA Food Safety and Defendant

     USDA’s employee or agent’s breach as described above:

         a. Plaintiff Mrs. Matamoros did suffer costly physical damage and loss of value

             to the motor vehicle she owned at the time of the accident; and

         b. Plaintiff Mr. Matamoros was caused to be injured, did suffer suffered and will

             in the future suffer great pain of body, nerves and nervous system, was

             rendered disabled, has suffered and will in the future suffer a loss of

             enjoyment of life, has and will in the future be required to undergo additional

             medical treatment, was unable to perform his usual daily activities, has and

             will in the future be liable to pay large sums of money for medical and

             hospital treatment, and was/is otherwise injured.




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                       Count II – Negligence of John/Jane Does 1-5

  15. On March 3, 2017 at approximated 4:50 a.m., Plaintiff Mr. Matamoros was the

     operator of a motor vehicle traveling West on Route 195 in Providence, Rhode Island

     and was at all times using due care in the operation of said vehicle.

  16. On March 3, 2017, Plaintiff Ms. Matamoros was the owner of a vehicle which was

     being operated with her consent by her son, Plaintiff Mr. Matamoros, at the time and

     place set forth above.

  17. At all times mentioned herein, John/Jane Does 1-5 had the duty to operate a vehicle in

     a reasonably careful manner for the safety of all persons, including the plaintiffs in

     this action.

  18. At the aforementioned time and place, John/Jane Does 1-5 breach the duty owed to

     Plaintiffs Mr. Matamoros and Mrs. Matamoros by operating said motor vehicle in a

     negligent and careless manner, and by negligently and carelessly operating the motor

     vehicle causing the vehicle to strike the motor vehicle being operated by Mr.

     Matamoros.

  19. As a direct and proximate result of John/Jane Does 1-5’s breach as described above:

         a. Plaintiff Mrs. Matamoros did suffer costly physical damage and loss of value

             to the motor vehicle she owned at the time of the accident; and

         b. Plaintiff Mr. Matamoros was caused to be injured, did suffer suffered and will

             in the future suffer great pain of body, nerves and nervous system, was

             rendered disabled, has suffered and will in the future suffer a loss of

             enjoyment of life, has and will in the future be required to undergo additional

             medical treatment, was unable to perform his usual daily activities, has and




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             will in the future be liable to pay large sums of money for medical and

             hospital treatment, and was/is otherwise injured.



                                        Jury Trial Demand

         Plaintiff hereby demands a trial by jury and designates the undersigned as trial
  counsel.


                                               Plaintiffs
                                               By their attorney,

                                               /S/ Scott P. Tierney
                                               _________________________
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